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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

JAVIER CAZARES, Individually as                   §
Wrongful Death Beneficiary of J.J.C.,             §
Deceased Minor, et al.                            §
                     Plaintiffs,                  §
                                                  §
v.                                                § Civil Action No. 2:24-cv-000045-AM
                                                  §
JUAN MALDONADO, et al.                            §
             Defendants.                          §


                                            ORDER

       ON THIS, the day of signing, came to be considered the Unopposed Motion of Pedro

“Pete” Arredondo for an Extension of the Deadline to File His Answer or Other Responsive

Pleading to Plaintiffs’ First Amended Complaint. The Court, having considered the unopposed

motion and any responses thereto, finds that it should be granted.

       IT IS, THEREFORE, ORDERED, ADJUDGED, and DECREED that the Unopposed

Motion of Pedro “Pete” Arredondo for an Extension of the Deadline to File His Answer or Other

Responsive Pleading is GRANTED and that Defendant Pedro “Pete” Arredondo shall have until

July 24, 2024, in which to file his Response to Plaintiff’s First Amended Complaint.

                                                Signed this _______ day of ____________ 2024.



                                                            ____________________________
                                                            CHIEF UNITED STATES
                                                            DISTRICT JUDGE




Order                                                                                      1
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